                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL                *             CIVIL ACTION NO: 21-CV-80
              Plaintiffs        *
                                *             SECTION: D-2
   VERSUS                       *
                                *             JUDGE: VITTER
                                *
JOSEPH P. LOPINTO, III, ET AL. *              MAGISTRATE: CURRAULT
                     Defendants *
**********************

      MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL
      SUMMARY JUDGMENT PURSUANT TO FED. R. CIV. P. 56

      MAY IT PLEASE THE COURT:

      Defendant, Sheriff JOSEPH LOPINTO III, in his official capacity as the

Sheriff of Jefferson Parish (“the Sheriff”), has moved this Honorable Court for

summary judgment. This case arises out of the death of E.P. after E.P. violently

attacked his father and responding Jefferson Parish Sheriff’s Office Deputies.

Under federal law, Plaintiffs have the burden of proving that the Sheriff instituted

an official policy or practice that was the proximate cause of E.P.’s death. Plaintiffs

have failed to meet their burden.

I.    STATEMENT OF THE CASE

      A.     PLAINTIFFS’ ALLEGATIONS

      Plaintiffs Complaint is 80 pages long and contains nearly 500 individually

enumerated Paragraphs. R. Doc. 1.
       Regarding the Monell (municipal liability) claim against the Sheriff at issue

in this Motion, Plaintiffs’ Complaint is the consummate formulaic (cut-and-paste)

recitation of the elements of a cause of action.1

       In an attempt to clarify and distill Plaintiffs’ purported claims, the Sheriff

sent Plaintiffs Interrogatories specifically asking Plaintiffs to delineate (1) what

written policies of the Sheriff’s Officer were deficient and (2) what training was

deficient. See Plaintiffs’ Answers to Defendants’ Second Set of Interrogatories,

attached as Exhibit 1.

       As the Court can readily see, the Plaintiffs’ responses are altogether

improper, entirely non-responsive, and otherwise nonsensical. Id.

       With regard to written policies, Plaintiffs do not identify a written policy that

is allegedly violative of the Constitution. Id.

       With regard to any alleged training deficiencies, Plaintiffs simply refer to

their answers relative to the questions regarding written policies and their answers

are otherwise wholly improper, unresponsive, and unavailing. Id.

       Thus, for purposes of this Motion, the Court is left only with Plaintiffs’

naked assertions in their Complaint.

       In this regard, and again because the Complaint is so lacking in any factual


1 See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)(“A pleading that offers ‘labels and
conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’”)
support and the Plaintiffs have not identified any actual policy of the Sheriff that is

of Constitutional import, the Sheriff is left guessing.

      In an attempt, then, to do for Plaintiffs what they should have done for

themselves, the Sheriff submits that the arguably best statement of Plaintiffs’ cause

of action is that the Sheriff (1) failed “to train and educate [his] officers with

respect to use of force applications which he knew, must have known or should

have known, that deputies were utilizing in the field and which posed a serious risk

of injury or death including the excessive use of body weight during restraint and

using Head-Holds or Locks, in deliberate indifference to and reckless disregard of

the welfare of the public at large, including E.P. and the Plaintiffs,” R. Doc. 1, at ¶

417(d), and (2) failed “to adequately supervise, monitor and evaluate the

performance of his deputies, including the Defendant Deputies, regarding their

compliance with the laws and policies, practices and customs with respect to: 1)

stops; 2) searches; 3) seizures; 4) dealing with persons with mental illness and/or

intellectual/developmental disabilities, including autism; 5) dealing with persons of

diminished capacity; 6) apprehension of suspects; 7) use of force, including deadly

force; 8) use of restraints; 9) protection of citizen’s civil rights; and 10) among

other things, illustrating deliberate indifference and reckless disregard for the rights

of the public, including E.P. and the Plaintiffs.” Id. at ¶ 417(f).
      B.     BRIEF STATEMENT OF THE FACTS OF THE UNDERLYING INCIDENT

      This case involves the death of E.P.

      On January 19, 2020, E.P. violently attacked his father in the parking lot of

the Westgate Shopping Center in Metairie, La.

      A call for service was made by a horrified onlooker. R. Doc. 1.

      JPSO Deputies responded.

      The Defendant J.P.S.O. Deputies arrived to find a horrifying scene. E.P. had

severely injured his father. E.P. had bitten his fathers face, leaving open and

obvious trauma.

      The Defendant J.P.S.O. Deputies did as best they could to manage E.P., who

never stopped resisting their efforts with extreme violence.

      Regrettably, E.P. expired on the scene.

      C.     STATEMENT OF THE UNCONTESTED MATERIAL FACTS

      The JPSO provided extensive training in all the areas identified in Plaintiffs’

Complaint and throughout the entirety of this litigation.

      The JPSO trains its Deputies in the laws and policies governing the seizure

of a person, including the use of force. See Corporate Deposition of JPSO Sergeant

Pizzalota, attached as Exhibit 2, at 100-101, 103-109, 117-119, 161-163, 174-175.

       The JPSO trains its Deputies in the use of choke holds, which are strictly

prohibited unless absolutely necessary to preserve life. See Corporate Deposition
of JPSO Sergeant Pizzalota, attached as Exhibit 1, at 55-58, 97, 129.

       The JPSO trains its Deputies in the use of defensive tactics and martial arts

holds, which again exclude the use of choke holds. Id. at 128-129.

        The JPSO trains its Deputies in passive and active resistance and in

confronting. Id. at 79-82.

       The JPSO trains its Deputies in deescalation techniques when dealing with

the public. Id. at 83-84, 110-112.

       The JPSO trains its Deputies in dealing with emotionally disturbed persons.

Id., at 114-115.

       The JPSO trains its Deputies in confronting people exhibiting signs of what

is often referred to as Excited Delerium, which was a contributing cause of death in

this case. Id., at 40-46, 48-53, 130-131.

       The JPSO trains its Deputies in providing medical attention to those in need.

Id., at 129, 131-133.

       The JPSO trains its Deputies that the hogtying technique is strictly

prohibited. Id., at 74, 89.

       The JPSO trains its Deputies in restraining persons in the prone position. Id.,

at 53-55, 64-66, 68, 70, 76, 91, 135, 172.

       The JPSO trains its Deputies when and how to place persons in a recovery

position. See Exhibit 1, at 62-66, 69-73, 77, 91, 94.
      The JPSO trains its Deputies in the use of the T.A.R.P. (Total Appendage

Restrain Procedure) technique. Id., at 73, 85, 87-95.

      The JPSO trains its Deputies in the use of the RIPP hobble (restraining

device for dealing with combative persons). Id., at 35-39, 52-53, 87-95, 135.

      The JPSO trains its Deputies in dealing with persons with emotional and

intellectual challenges, including autistic persons. See Corporate Deposition of

JPSO Sergeant Voltolina, attached as Exhibit 3.

II.   STANDARD OF REVIEW ON SUMMARY JUDGMENT

      Summary judgment is appropriate if “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” Disraeli v. Rotunda, 489 F.3d 628, 631

(5th Cir. 2007)(quoting Fed. R. Civ. P. 56(c)).

      Once the moving party shows that no genuine issue of material fact exists,

the non-movant must respond by “set[ting] forth specific facts showing that there

is a genuine issue for trial.” Beard v. Banks, 548 U.S. 521, 529 (2006) (quoting

Celotex Corp. v. Catrett, 447 U.S. 317, 323 (1986)) (quoting Fed. R. Civ. P. 56(e))

(emphasis added by Beard Court). All reasonable inferences are drawn in favor of

the nonmoving party. However, the nonmoving party “cannot defeat summary

judgment with conclusory allegations, unsubstantiated assertions, or ‘only a
scintilla of evidence.’” Hathaway v. Bazany, 507 F.3d 312, 319 (5th Cir. 2007)

(citing Turner v. Baylor Richardson Medical Center, 476 F.3d 337, 343 (5th

Cir.2007) (additional citation omitted).

III.   PLAINTIFFS’ MONELL CLAIMS AGAINST THE SHERIFF IN HIS
       OFFICIAL CAPACITY FAIL AS A MATTER OF LAW

       “Well settled Section 1983 jurisprudence establishes that supervisory

officials cannot be held vicariously liable for their subordinates’ actions.

Supervisory officials may be held liable only if: (i) they affirmatively participate in

acts that cause constitutional deprivation; or (ii) implement unconstitutional

policies that causally result in plaintiff’s injury.”2

       The Sheriff has already moved to dismiss the claims against him in his

individual capacity. R. Doc. 49. The motion was filed on March 29, 2022 and

remains pending. Id.

       This Motion, therefore, addresses only the claims against him in his official

capacity.

       A.     STANDARD FOR LIABILITY

       A suit against a government official in his official capacity is treated as a suit

against the entity.3 Furthermore, no liability exists for governmental entities based



2 Mouille v. City of Live Oak, Texas, 977 F.3d 924, 929 (La. App. 5 Cir. 11/20/92) (citations
omitted).
3 See Lee v. Morial, 2000 WL 726882 at *2 (E.D.La. June 2, 2000).
on a vicarious liability or a respondeat superior theory.4 Instead the municipality

will be liable only when an official policy or custom inflicts the injury of which the

plaintiff complains.5 The plaintiff has the burden of proving that there was a

constitutional deprivation and that a municipal policy was the driving force behind

the constitutional deprivation.6

       “Official policy is ordinarily contained in duly promulgated policy

statements, ordinances or regulations. But a policy may also be evidenced by

custom, that is: (2)… a persistent, widespread practice of City officials or

employees, which, although not authorized by officially adopted and promulgated

policy, is so common and well-settled as to constitute a custom that fairly

represents municipal policy… Actions of officers or employees of a municipality

do not render the municipality liable under section 1983 unless they execute

official policy as above defined.” Piotrowski v. City of Houston, 237 F.3d 567 (5th

Cir. 2001)(internal citations omitted).

       The "official policy" requirement can be met in three different ways. 7 First,

when the municipality promulgates a generally applicable statement of policy and



4 Price v. Housing Authority of New Orleans, 2002 WL 179193 (E.D.La. Oct. 11, 2002)
5 Monell v. Department of Social Services, 436 U.S. 658, 694, 98 S.Ct. 2018, 56 L.Ed.2d 611
(1978).
6 Id.
7 Piotrowski v. City of Houston, 237 F.3d 567, 579 (5th Cir. 2001) citing Bennett v. City of
Slidell, 728 F.2d 762, 768 n. 3 (5th Cir.1984).
the injury resulted from that policy.8 Second, when no "official policy" exists, but

the action of the policy maker violated a constitutional right and third, when the

policymaker fails to act to control its agents when it was “so obvious, and the

inadequacy [of existing practice] so likely to result in the violation of constitutional

rights, that the policymake[r] ... can reasonably be said to have been deliberately

indifferent to the need.”9 Deliberate indifference of this sort is a stringent test, and

"a showing of simple or even heightened negligence will not suffice" to prove

municipal culpability.10 The single incident exception is a very narrow one that

courts have been reluctant to expand.11

       There are two fundamental requirements for holding a municipality liable:

culpability and causation. Snyder v. Trapagnier, 142 F. 3d 791 (5th Cir. 1998)

(citing Monell, 436 U.S. 658, 98 S.Ct. 2018, L.Ed. 2d 611 (1978)). A Plaintiff

must establish both the causal link (“moving force”) and the municipality’s degree

of culpability (“deliberate indifference” to federally protected rights), declaring

“[w]here a court fails to adhere to rigorous requirements of culpability and

causation, municipal liability collapses into respondeat superior liability.” Board


8 Id.
9 Id. at 471.
10 Id.; citing Bryan County, 520 U.S. at 407, 117 S.Ct. at 1389, 1390.
11 See Pineda v. City of Houston, 291 F.3d 325, 334- 35 (5th Cir.2002) ("Charged to
administer a regime without respondeat superior, we necessarily have been wary of
finding municipal liability on the basis of [the single-incident] exception for a failure to
train claim.").
of County Commissioners of Bryan County, Okl. v. Brown, 520 U.S. 397, 117 S.Ct.

1382, 137 L.Ed. 2d 626 (1997).

      Thus, a plaintiff seeking to prevail must first prove a direct causal link

between the municipal policy and the constitutional deprivation; she then must

establish that the city consciously enacted a policy reflecting “deliberate

indifference” to the constitutional rights of its citizens City of Canton v. Harris,

489 U.S. 378, 389, 109 S.Ct. at 1205 (1989); See also Watson v. City of New

Orleans, 2000 WL 126921 (E.D.La. 2/3/2000).

      In virtually every instance where a person has had his or her
      constitutional rights violated by a city employee, a § 1983 plaintiff
      will be able to point to something the city ‘could have done’ to
      prevent the unfortunate incident.” Permitting a lesser standard than
      deliberate indifference would “engage the federal courts in an endless
      exercise of second-guessing municipal employee training programs.
      This is an exercise we believe the federal courts are ill suited to
      undertake as well as one that would implicate serious questions of
      federalism.”

City of Canton, 489 U.S. at 392, 109 S.Ct. 1197.

      B.      PLAINTIFFS HAVE FAILED TO ALLEGE OR ESTABLISH A MONELL
              CLAIM

      The relevant burden of proof and standard of liability was succinctly

summarized by the U.S. Fifth Circuit in James v. Harris County, 577 F.3d 612 (5th

Cir. 2009):

      To hold a municipality liable under § 1983 for the misconduct of an
      employee, a plaintiff must show, in addition to a constitutional
      violation, that an official policy promulgated by the muncipality's
      policymaker was the moving force behind, or actual cause of, the
      constitutional injury. The official policy itself must be unconstitutional
      or, if not, must have been adopted with deliberate indifference to the
      known or obvious fact that such constitutional violations would result.
      Official policy can arise… in the form of a widespread practice that is
      so common and well-settled as to constitute a custom that fairly
      represents municipal policy. A policy is official only when it results
      from the decision or acquiescence of the municipal officer or body
      with final policymaking authority over the subject matter of the
      offending policy…
      Although an official policy can render a municipality culpable, there
      can be no municipal liability unless it is the moving force behind the
      constitutional violation. In other words, a plaintiff must show direct
      causation, i.e., that there was a direct causal link between the policy
      and the violation.
      A plaintiff must also show that, where the official policy itself is not
      facially unconstitutional, it was adopted with deliberate indifference’
      as to its known or obvious consequences. Deliberate indifference is a
      degree of culpability beyond mere negligence or even gross
      negligence; it must amount to an intentional choice, not merely an
      unintentionally negligent oversight.12

      In this case, Plaintiffs assert a “failure-to-train’ theory of liability against the

Sheriff. R. Doc. 1, at ¶ 417.

      In City of Canton v. Harris, 489 U.S. 378,388 (1989), the Supreme Court

expanded Monell to include claims for inadequate police training. To recover under

a failure to train theory, the plaintiff must demonstrate that (1) the failure to train

amounted to deliberate indifference to the right of persons with whom the policy

came in contact and (2) the municipality's policy actually caused a constitutional


12 James, 577 F.3d at 615-616.
injury. Id. at 389-90. “All failure to act claims, such as... failure to train [or]

supervise... involve the same basic elements: inadequacy, deliberate indifference,

and causation.” Skinner v. Ard, 519 F.Supp.3d 301, 314 (M.D. La. 2021)

(deGravelles, J.) (citation omitted).

       Here, none of the foregoing elements are met.

       First, the JPSO provided extensive training in all the areas identified in

Plaintiffs’ Complaint and throughout the entirety of this litigation.

       The JPSO trains its Deputies in the laws and policies governing the seizure

of a person, including the use of force. See Corporate Deposition of JPSO Sergeant

Pizzalota, attached as Exhibit 1, at 100-101, 103-109, 117-119, 161-163, 174-175.

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       The JPSO trains its Deputies in the use of the T.A.R.P. (Total Appendage

Restrain Procedure) technique. Id., at 73, 85, 87-95.

       The JPSO trains its Deputies in the use of the RIPP hobble (restraining

device for dealing with combative persons). Id., at 35-39, 52-53, 87-95, 135.

       The JOPSO trains its Deputies in dealing with persons with emotional and

intellectual challenges, including autistic persons. See Corporate Deposition of
JPSO Sergeant Voltolino, attached as Exhibit 2.

       Second, Plaintiffs cannot show that the Sheriff was deliberately indifferent to

a known and obvious need to train.

       “Deliberate indifference,” defined by the Supreme Court as a “conscious

disregard for the consequences of their action,” can be demonstrated by showing a

supervisor’s “continued adherence to an approach that they know or should know

has failed to prevent tortious conduct by employees.” Rivera v. Bonner, 952 F.3d

560, 567 (5th Cir. 2017) (quoting Bd. of Cty. Comm'rs of Bryan Cty., Okl. v. Brown,

520 U.S. 397, 407 (1997)). To constitute deliberate indifference, the failure to train

must reflect a deliberate or conscious choice made by municipal policymakers. Id.

       As a rule, “[p]roof of more than a single instance of the lack of training or

supervision causing a violation of constitutional rights is normally required before

such lack of training or supervision constitutes deliberate indifference.” Thompson

v. Upshur Cnty, Tex., 245 F.3d 447, 459 (5th Cir. 2001) (internal quotations and

citations omitted). The plaintiff must ordinarily show at least a pattern of similar

violations. Id. Moreover, the inadequacy of training must be obvious and obviously

likely to result in a constitutional violation. Id.

       To succeed on this third and most difficult prong, “a plaintiff usually must

demonstrate a pattern of violations and that the inadequacy of the training” or

supervision is “obvious and obviously likely to result in a constitutional violation.”
Cousin v. Small, 325 F.3d 627, 637 (5th Cir. 2003)).

      Here, again, the JPSO provided extensive training to its Deputies in each and

every area of concern identified by Plaintiffs in this litigation. Plaintiffs fail to meet

the third element of their Monell claim.

      Third, Plaintiffs fail to plead or to make any showing, even in the most

cursory fashion, that any promulgated policy, pattern of misconduct, or alleged

negligent training, supervision, etc. was the moving force behind the death of E.P..

See Palmer v. Marion County, 327 F.3d 588, 594 (7th Cir.2003) (explaining that

“to establish a genuine question of fact as to whether [the defendant was]

deliberately indifferent to [the plaintiff's] safety,” the plaintiff must show that the

defendant has “a custom or policy that contributed to the infliction of the assault

and his resulting injury”). There is simply no evidence adduced to support

culpability or causation whatsoever.

      Thus, even assuming Plaintiffs have made a showing of unconstitutionality,

Plaintiffs’ claims would still fail. See James, 577 F.3d at 617 (Plaintiff is unable to

“offer any empirical evidence relating to [Defendants] that could connect

[Plaintiffs’] general theory to the facts of this case.”)

      Accordingly, Plaintiffs’ claims against the Sheriff in his official capacity

should be dismissed as a matter of law.
                                   CONCLUSION

      For the foregoing reasons, the Sheriff, in his official capacity, is entitled to

summary judgment in his favor and dismissal of Plaintiffs’ claims against him in

his official capacity with prejudice and at Plaintiffs’ cost.

                                         Respectfully submitted,

                                         /s/ James B. Mullaly
                                         ____________________________
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                           CERTIFICATE OF SERVICE

I do hereby certify that on this 27th day of March 2023, a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system. Notice of
this filing will be sent by operation of the court’s electronic filing system. I also
certify that a copy of the foregoing will be sent to all non-CM/ECF participants by
United States Mail, properly addressed and postage prepaid.
                                                          s/ James B. Mullaly
